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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


THERABODY, INC.,
a Delaware Corporation,

      Plaintiffs,

vs.                                             Case No. 4:21cv493-WS-MAF

REATHLETE LLC, a Florida
Limited Liability Company; and
DOES 1 through 10, inclusive,

     Defendants.
______________________________/


                                   ORDER

      A motion for leave to appear pro hac vice as counsel for Plaintiff has

been filed by attorney Gregory S. Cordrey. ECF No. 12. The motion was

filed in February 2022, but was not referred by the Clerk’s Office until now.

At any rate, the motion demonstrates counsel is a member in good

standing of The State Bar of California. Id. Counsel resides in that State

and regularly practices law there. Id. He does not maintain a regular

practice in the State of Florida. Id. It appears that counsel has completed

this Court’s local rules tutorial, id. at 2, and the docket confirms that the
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$208 pro hac vice admission fee has been paid. The motion is in

compliance with N.D. Fla. Loc. R. 11.1(C) and is GRANTED.

      Accordingly, it is ORDERED that the motion for leave to appear pro

hac vice, ECF No. 12, is GRANTED.

      DONE AND ORDERED on June 6, 2022.



                                 S/ Martin A. Fitzpatrick
                                 MARTIN A. FITZPATRICK
                                 UNITED STATES MAGISTRATE JUDGE




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